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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF VIRGINIA
                              NEWPORT NEWS DIVISION

 JAMESINA CRAWFORD, et al.,                     )
                                                )      Case No. 4:14-cv-00130-AWA-LRL
        Plaintiffs,                             )
                                                )      JURY TRIAL DEMANDED
 vs.                                            )
                                                )      Judge Arenda Wright Allen
 NEWPORT NEWS              INDUSTRIAL           )
 CORPORATION,                                   )
                                                )
        Defendant.                              )
                     JOINT MOTION FOR EXTENSION OF
       DISPOSITIVE MOTION DEADLINES AND MEMORANDUM IN SUPPORT

        Pursuant to Federal Rule of Civil Procedure 16, Local Rule 16 and Local Rule 56,

 Plaintiffs and Defendant Newport News Industrial Corporation (“Defendant”) (collectively, the

 “parties”) respectfully move this Court for an order extending the dispositive motion deadlines as

 follows: (i) summary judgment motions due August 31, 2016, (ii) responses due October 19,

 2016, and (iii) replies due December 7, 2016. In support of their joint motion, the parties state:

        1.      On September 9, 2015, the Court issued an initial Scheduling Order in this case.

 Doc. 41.

        2.      On April 13, 2016, the Court modified the Order, granting Plaintiffs’ motion for

 extension of discovery and dispositive motion deadlines by 60 days. Doc. 98.

        3.      Under this current Order, “Summary judgment motions are due July 27, 2016,”

 “Responses to summary judgment motions are due August 10, 2016,” and “Replies are due

 August 17, 2016.”

        4.      The parties respectfully request the Court extend the dispositive motions

 deadlines by making: (i) summary judgment motions due August 31, 2016, (ii) responses due

 October 19, 2016, and (iii) replies due December 7, 2016.
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         5.       There is currently a settlement conference set for December 6, 2016.

         6.       As the Court has noted previously this is a “complex” case involving

 “thirty-seven plaintiffs with varying claims and varying facts to support those claims.” Doc. 59.

         7.       The parties have been working together cooperatively and diligently. Indeed,

 over the last several months, Defendant has taken all 37 Plaintiffs’ depositions as well as almost

 40 other witnesses identified by Plaintiffs’ counsel. Plaintiffs have taken over 60 depositions of

 their own.     Given the complexity of this matter, the number of witnesses, and documents

 exchanged (over 300,000), the parties believe this request is reasonable to allow the parties to

 digest the amount of information exchanged and the number of depositions taken.

         8.       At this time, no trial date(s)1 or hearing date(s) for motions for summary judgment

 are set for this matter, and thus, movement of the briefing dates will not necessitate any

 scheduling changes associated with trial(s) or hearing(s).

         9.       Because the parties agree to the relief sought and bring this as a joint motion, no

 hearing will be requested. Should the Court deem a hearing necessary, the parties will appear

 before the Court, but would ask that it take place prior to the current deadline for dispositive

 motions.

         WHEREFORE, for good cause shown, the parties respectfully request the Court grant the

 attached Proposed Order on the Joint Motion for Extension of Dispositive Motion Deadlines,

 making (i) summary judgment motions due August 31, 2016, (ii) responses due October 19,

 2016, and (iii) replies due December 7, 2016, and for such other relief as the Court deems proper.




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   As the Court is aware, there is a motion for severence pending which could impact the number of trials/hearings in
 this matter.


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 RESPECTFULLY SUBMITTED,
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                                  CERTIFICATE OF SERVICE

          I hereby certify that on the 21st day of July, 2016, I will electronically file the foregoing
 with the Clerk of Court using the CM/ECF system, which will then send a notification of such
 filing to the following:

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